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                                                       December 14, 2020


VIA EMAIL

Honorable J. Paul Oetken
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

                         Re: United States v. Parnas, et al., 19 Cr. 725 (S1)(JPO)

Dear Judge Oetken:

        We represent Andrey Kukushkin in connection with the above referenced matter. We
write on behalf of all defendants to follow up on the government’s letter of earlier today and to
put the defense’s request for an October trial date into context.
        The defense’s proposed October trial date is not a matter of personal preference, but
rather, a studied and informed view that a trial date any sooner is not practical. And, while an
October trial date will result in no prejudice to the government, we submit that any earlier date
will prejudice the defendants.
        As explained to the government, and as reflected in the attached, medical professionals
have indicated that a full roll out of the vaccine, such that a sufficient portion of the population
have received it and developed herd immunity is not expected until late Fall 2021. Indeed, all
indications are that the vaccine will not be readily available to the general population until the
third quarter of 2021. What’s more, vaccination will require two doses as much as four weeks
apart. Therefore, even those individuals who are lucky enough to receive vaccinations in the
third quarter may not be fully vaccinated until the latter part of the third quarter or early in the
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fourth quarter. As a result, we respectfully submit, that a “normal” constitutionally acceptable
trial is not, as a practical matter, possible until October 2021.
        While delay is not what anyone desires, the defendants object to a trial that does not
provide for constitutionally mandated due process or a constitutionally acceptable cross section
of jurors. Moreover, given our understanding of the current backlog of trials for defendants who
are incarcerated, which takes preference, anything sooner does not appear to be realistic. Indeed,
during the November 30, 2020, conference, the Court suggested October as a reasonable and
acceptable trial date. We submit that to set a date just to set it makes no sense and will only
serve to prejudice the defendants.
       Accordingly, the defense respectfully requests that this matter not be scheduled for trial
until October 2021. Thank you for your consideration.


                                                     Respectfully submitted,



                                                     /s Gerald B. Lefcourt
                                                     Gerald B. Lefcourt
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